&lt;HTML&gt;
&lt;HEAD&gt;
&lt;META NAME="Generator" CONTENT="WordPerfect 9"&gt;
&lt;TITLE&gt;&lt;/TITLE&gt;
&lt;/HEAD&gt;
&lt;BODY TEXT="#000000" LINK="#0000ff" VLINK="#551a8b" ALINK="#ff0000" BGCOLOR="#c0c0c0"&gt;

&lt;P&gt;&lt;SPAN STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;STRONG&gt;&lt;HR ALIGN="CENTER" WIDTH="26%"&gt;
&lt;/STRONG&gt;&lt;/P&gt;
&lt;CENTER&gt;NO. 03-9&lt;A NAME="1"&gt;8&lt;/A&gt;-00&lt;A NAME="2"&gt;537&lt;/A&gt;-CR&lt;/CENTER&gt;


&lt;P&gt;&lt;STRONG&gt;&lt;HR ALIGN="CENTER" WIDTH="26%"&gt;
&lt;/STRONG&gt;&lt;/P&gt;



&lt;CENTER&gt;&lt;A NAME="3"&gt;Torin C. Archbold&lt;/A&gt;, Appellant&lt;/CENTER&gt;


&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;v.&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;The State of Texas, Appellee&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;STRONG&gt;&lt;HR SIZE="3"&gt;
&lt;/STRONG&gt;&lt;/P&gt;
&lt;SPAN STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;FROM THE COUNTY COURT AT LAW NO. 5 OF &lt;A NAME="4"&gt;TRAVIS&lt;/A&gt; COUNTY&lt;A NAME="5"&gt;&lt;/A&gt;&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;

&lt;P&gt;&lt;SPAN STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;NO. &lt;A NAME="6"&gt;466885&lt;/A&gt;, HONORABLE &lt;A NAME="7"&gt;WILFRED AGUILAR&lt;/A&gt;, JUDGE PRESIDING&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

&lt;P&gt;&lt;STRONG&gt;&lt;HR SIZE="3"&gt;
&lt;/STRONG&gt;&lt;/P&gt;



PER CURIAM

&lt;P&gt;This is an appeal from a judgment of conviction for assault.  Sentence was imposed
on June 1, 1998.  There was a timely motion for new trial.  The deadline for perfecting appeal was
therefore August 31, 1998.  Tex. R. App. P. 26.2(a)(2).  Notice of appeal was filed on September
1, 1998.  No extension of time for filing notice of appeal was requested.  Tex. R. App. P. 26.3. 
There is no indication that notice of appeal was properly mailed to the district clerk within the time
prescribed by rule 26.2(a).  Tex. R. App. P. 9.2(b).  Under the circumstances, we lack
jurisdiction to dispose of the purported appeal in any manner other than by dismissing it for want
of jurisdiction.  &lt;EM&gt;See Olivo v. State&lt;/EM&gt;, 918 S.W.2d 519, 523 (Tex. Crim. App. 1996).  &lt;EM&gt;But see
Williams v. State&lt;/EM&gt;, 957 S.W.2d 949 (Tex. App.--Austin 1997, no pet.) (asking that &lt;EM&gt;Olivo&lt;/EM&gt; be
reexamined).&lt;/P&gt;

&lt;P&gt;The appeal is dismissed.&lt;/P&gt;

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;Before Chief Justice Yeakel, Justices Jones and B. A. Smith&lt;/P&gt;

&lt;P&gt;Dismissed for Want of Jurisdiction&lt;/P&gt;

&lt;P&gt;Filed:   October 8, 1998&lt;/P&gt;

&lt;P&gt;Do Not Publish&lt;/P&gt;

&lt;/BODY&gt;
&lt;/HTML&gt;
